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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  FILTALERT CORPORATION,
                Plaintiff,

                 v.
                                                           Case No. 15-22845-CIV-GAYLES
  INTERNATIONAL BUSINESS
  MACHINES CORPORATION and
  LENOVO (UNITED STATES) INC.,
                 Defendants.
                                                   /


                                                ORDER

         Plaintiff Filtalert Corporation (“Filtalert”) alleges in this patent infringement action that

  Defendants International Business Machines Corporation (“IBM”) and Lenovo (United States)

  Inc. (“Lenovo”) infringed U.S. Patent No. 6,620,222 (the “’222 patent”), which “is directed to a

  system and method for filtering air going into a computer.” Compl. ¶ 1. Filtalert alleges that the

  Defendants infringed several claims of the ’222 Patent through, inter alia, the use of the System

  X™ and BladeCenter™ products (the “Accused Products”), which Lenovo acquired from IBM

  in 2014. Id. ¶¶ 16-17; Defs.’ Mot. at 2.

         Before the Court is the Defendants’ Joint Motion to Transfer Venue to the Eastern

  District of North Carolina, Filtalert’s response in opposition thereto, and the Defendants’ reply.

  For the reasons that follow, the motion to transfer venue is hereby GRANTED.

  I.     BACKGROUND

         The Defendants jointly filed the present Motion to Transfer Venue on October 8, 2015. In

  it, they request that the Court transfer this case to the U.S. District Court for the Eastern District

  of North Carolina, pursuant to 28 U.S.C. § 1404(a). The Defendants argue that the Eastern District

  of North Carolina is a more convenient forum for all parties for several reasons, including that

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  (1) Defendant Lenovo’s headquarters and primary operations relevant to the Accused Products are

  located in that District; (2) IBM has significant operations within that District; (3) Filtalert and

  the named inventor are located in Virginia, which is closer to that District; (4) documents related to

  the research, development, and sale of the Accused Products are located in that District; and (5) the

  “vast majority” of witnesses likely to have relevant knowledge are located in or near that District.

  Defs.’ Mot. at 1.

         Filtalert filed its response on November 7, 2015, arguing that it chose to litigate in the

  Southern District of Florida because, inter alia, all parties sell products here, both Defendants

  have major offices here, and this District has a reputation as being a comparatively speedy district.

  See Pl.’s Mot. at 7. Filtalert also contends that the Eastern District of North Carolina would be an

  unfair forum because of the vast presence both IBM and Lenovo have there as employers of a

  large number of the District’s residents.

  II.    DISCUSSION

         The statute governing venue transfer, 28 U.S.C. § 1404(a), provides, in relevant part, that,

  “[f]or the convenience of parties and witnesses, in the interest of justice, a district court may

  transfer any civil action to any other district . . . where it might have been brought.” This analysis

  requires a two-pronged inquiry. First, a court must determine whether the case may have been

  brought in the desired district of transfer. Meterlogic, Inc. v. Copier Solutions, Inc., 185 F. Supp.

  2d 1292, 1299 (S.D. Fla. 2002). This question depends on whether IBM and Lenovo are subject

  to jurisdiction in North Carolina, whether venue is appropriate in the Eastern District of North

  Carolina, and whether IBM and Lenovo are amenable to service of process in North Carolina.

  See id. Because the parties do not dispute that this action could have been brought in the Eastern

  District of North Carolina, the Court turns to a discussion of the second prong.




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          “Once a court finds an action could have been brought in the transferee forum, the court

  must weigh various factors . . . to determine if a transfer . . . is justified.” Elite Advantage, LLC v.

  Trivest Fund, IV, L.P., No. 15-22146, 2015 WL 4982997, at *5 (S.D. Fla. Aug. 21, 2015) (citation

  and internal quotation marks omitted). The Eleventh Circuit instructs that a district court should

  consider the following list, albeit nonexhaustive, of private and public interest factors to

  determine whether a transfer is appropriate:

          (1) the convenience of the witnesses; (2) the location of the relevant documents
          and the relative ease of access to sources of proof; (3) the convenience of the
          parties; (4) the locus of operative facts; (5) the availability of process to compel
          the attendance of unwilling witnesses; (6) the relative means of the parties; (7) a
          forum’s familiarity with the governing law; (8) the weight accorded a plaintiff’s
          choice of forum; and (9) trial efficiency and the interests of justice, based on the
          totality of the circumstances.

  Manuel v. Convergys Corp., 430 F.3d 1132, 1135 n.1 (11th Cir. 2005) (citation omitted). The

  Court addresses these factors in turn.

          A.      Convenience of Witnesses

          “The convenience of the witnesses is probably the single most important factor in transfer

  analysis.” In re Genentech, Inc., 566 F.3d 1338, 1343 (Fed. Cir. 2009) (quoting Neil Bros. Ltd. v.

  World Wide Lines, Inc., 425 F. Supp. 2d 325, 239 (E.D.N.Y. 2006)) (internal quotation marks

  omitted). The U.S. Court of Appeals for the Federal Circuit has adopted the Fifth Circuit’s “100

  mile” rule, which requires that “[w]hen the distance between an existing venue for trial of a

  matter and a proposed venue under § 1404(a) is more than 100 miles, the factor of inconvenience

  to witnesses increases in direct relationship to the additional distance to be traveled.” Id. (quoting

  In re Volkswagen of Am., Inc., 545 F.3d 304, 317 (5th Cir. 2008)).

          “The party seeking the transfer must support its motion by clearly specifying the key

  witnesses to be called and particularly stating the significance of their testimony.” Mason v.

  Smithkline Beecham Clinical Labs., 146 F. Supp. 2d 1355, 1362 (S.D. Fla. 2001) (citation

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  omitted). When considering parties’ proposed witnesses for purposes of an analysis of this factor,

  “the witnesses’ actual knowledge relative to the instant dispute, and the location and convenience

  of the witnesses are important considerations.” Microspherix LLC v. Biocompatibles, Inc., No.

  11-80813, 2012 WL 243764, at *3 (S.D. Fla. Jan. 25, 2012).

         The Defendants have identified Lenovo employees Paul Wormsbecher, David Jensen,

  and Brian Trumbo as having knowledge of relevant facts about the design, operation, and

  accused functionality of the Accused Products, and Antoine Johnson as a Lenovo employee

  having knowledge regarding the sales of the Accused Products. See Defs.’ Mot. at 4. All of these

  employees are located in Morrisville, North Carolina, within the Eastern District of North

  Carolina. The Defendants also identified David A. Brown as an IBM employee with knowledge

  of pre-acquisition sales of the Accused Products; he is located at IBM’s office at the Research

  Triangle Park in Durham, North Carolina, within the Eastern District of North Carolina. Id. In

  their reply, IBM identified several other witnesses as corporate representatives to testify on

  topics Filtalert identified as potential 30(b)(6) deposition topics: Mark Nyeck in Raleigh, North

  Carolina; Hance Huston in Fishkill, New York; Curtis Glover in Austin, Texas; and Vic Mahaney

  in Austin, Texas. Moreover, the Defendants have identified the named inventor’s employer at the

  time he filed the application for the ’222 patent; the prosecuting attorney; and inventors of prior

  art, each of whom resides closer to the Eastern District of North Carolina than to the Southern

  District of Florida. See Defs.’ Mot. at 10; see also Brown Decl. ¶¶ 15-28.

         In its opposition, Filtalert provided a list of seven LinkedIn profiles for the purposes of

  “show[ing] that people with relevant, material knowledge related to the conception, design,

  development, marketing, manufacturing, sales, and support for the Accused Products reside in

  Florida and outside of North Carolina.” Pl.’s Opp’n at 15-16. The Defendants, however, attached




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  to their reply declarations from four of these individuals to show that they have no knowledge

  relevant to the issues in this case. See Defs.’ Reply at 5.

         The Court is cognizant of the fact that “the mere length of an individual parties’ [sic] list

  of potential witnesses is not of great significance” and that it is not to “merely tally the number

  of witnesses who reside in the current forum in comparison to the number located in the

  proposed transferee forum.” Microspherix, 2012 WL 243764, at *3 (quoting Fuji Photo Film Co.

  v. Lexar Media, Inc., 415 F. Supp. 2d 370, 373 (S.D.N.Y. 2006)) (internal quotation marks

  omitted). And the Court notes that most of these witnesses are employees under the Defendants’

  control who could be compelled to testify wherever the litigation was held. That said, the

  Defendants have done as they are required and specified witnesses with actual knowledge relative

  to the issues in this case. Most of those witnesses currently reside in North Carolina; and a

  majority of those who live elsewhere live significantly closer to North Carolina than to Miami,

  such that it would be much more convenient for those witnesses if this litigation is held in North

  Carolina rather than in the Southern District of Florida. See In re TS Tech U.S. Corp., 551 F.3d

  1315, 1320 (Fed. Cir. 2008) (“Additional distance [from home] means additional travel time;

  additional travel time increases the probability for meal and lodging expenses; and additional

  travel time with overnight stays increases the time which these fact witnesses must be away from

  their regular employment.”).

         Although Filtalert named several potential witnesses who reside in Florida, many of those

  witnesses have declared to the Court that they have no actual knowledge relative to the issues in

  this case. Weighing the parties’ submissions, the Court concludes that the convenience of the

  witnesses favors transfer.




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         B.      Location of Relevant Documents and Ease of Access to Sources of Proof

         “In patent infringement cases, the bulk of the relevant evidence usually comes from the

  accused infringer.” In re Nintendo Co., 589 F.3d 1194, 1199 (Fed. Cir. 2009). Filtalert seems to

  concede that the majority of relevant documents in this case is located in the Eastern District of

  North Carolina. See Pl.’s Opp’n at 21. However, given that the electronic storage and transfer of

  documents between litigants has become the norm, many courts find that the location of relevant

  documents should be given little weight in the transfer analysis. See, e.g. Microspherix, 2012

  WL 243764, at *3 (“In a world with fax machines, copy machines, email, overnight shipping,

  and mobile phones that can scan and send documents, the physical location of documents is

  irrelevant.”). This Court agrees with those courts and finds that this factor is neutral.

         C.      Convenience of Parties

         The Defendants have shown that conducting this litigation in the Eastern District of

  North Carolina would be more convenient to them: Lenovo is headquartered in that District and

  IBM has an established place of business there, as well. Filtalert makes four assertions that

  conducting the litigation in the Southern District of Florida would be more convenient for them:

  (1) this District is a speedy forum; (2) Filtalert’s principal’s “only business partner resides in

  Miami, Florida”; (3) both Filtalert and the Defendants sell their respective products here; and (4)

  Filtalert’s counsel is located here. See Pl.’s Opp’n Ex. B ¶¶ 7, 9, 10-11. The Court must consider,

  however, that “[w]here a transfer ‘merely shifts the inconvenience from one party to another,

  Plaintiff’s choice of forum should remain.’” Mason, 146 F. Supp. 2d at 1361 (quoting Eye Care

  Int’l v. Underhill, 119 F. Supp. 2d 1313, 1319 (M.D. Fla. 2000)).

         A discussion of Filtalert’s first assertion, whether this District is a speedy forum, is more

  appropriately addressed in a consideration of “trial efficiency and the interests of justice,”

  Manuel, 430 F.3d at 1135 n.1, rather than the convenience of the parties. The assertion that both

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  Filtalert and the Defendants sell their products here does not weigh in favor of convenience:

  according to the Complaint, Filtalert’s products “are sold through various outlets, including

  Filtalert’s website www.purapc.com, and Amazon.com.” Compl. ¶ 12. Because the products are

  available—and likely sold—throughout the United States, Filtalert has not provided the Court with

  anything to show why this District would be any more convenient than the many others in which

  its products are sold. And the Court need not address Filtalert’s assertion that its counsel is located

  here because “convenience to counsel ‘is generally not an appropriate consideration’ in a 1404(a)

  transfer motion.” Cellularvision Technology & Telecommunications, L.P. v. Alltel Corp., 508 F.

  Supp. 2d 1186, 1190 (S.D. Fla. 2007) (quoting Solomon v. Cont’l Am. Life Ins. Co., 472 F.2d 1043,

  1047 (3d Cir. 1973)). What remains is the fact that Filtalert’s principal’s business partner is located

  here. Although Filtalert has not named this partner, has not described its partner’s business, and

  has not described at all the relationship between them, the Court will assume, for purposes of

  argument, that this is a convenience factor favoring the Southern District of Florida as a venue.1

           Filtalert argues that the Eastern District of North Carolina would be an inconvenient forum

  because its principal lives three-and-a-half hours from Raleigh, North Carolina, and because

  Lenovo and IBM are two “global behemoths” who have a “visible presence and influence in the

  Eastern District of North Carolina” such that the district would be “unfairly favorable to

  Defendants.” Pl.’s Opp’n Ex. B ¶¶ 4, 8. Comparing the distance between Palmyra, Virginia, and

  Raleigh, North Carolina, and the distance between Palmyra, Virginia, and Miami, Florida, it is

  clear that it is not inconvenient for the Plaintiff to travel a shorter distance to the Eastern District

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      Filtalert’s position is akin to the one taken by the plaintiff in Cellularvision. There, the plaintiff, who was not
      headquartered in Florida, opposed the defendants’ motion to transfer venue from this District to the Eastern
      District of Arkansas, without indicating in its opposition why this District would in any way be a convenient
      forum for it other than a statement that, because it made the decision to commence the action here, it “obviously
      found it convenient.” 508 F. Supp. 2d at 1190. While the Cellularvision plaintiff provided nothing in support of
      the convenience of this District as a forum other than its own self-serving statement, here Filtalert does not
      proffer much more.



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  of North Carolina. The remainder of Filtalert’s unfairness rationale is based purely on speculation,

  and Filtalert has provided nothing more than such speculation to support its assertion that the

  Eastern District of North Carolina would be “unfairly favorable” to the Defendants. This Court

  has the utmost confidence in its colleagues in the Eastern District of North Carolina and their

  ability to preside over the selection of a fair, unbiased, and impartial jury.

         The Court finds it difficult to believe that Filtalert, a Virginia corporation with a principal

  who resides in Virginia, would be more inconvenienced by prosecuting this case in North

  Carolina rather than Florida, considering that Filtalert has very little connection to the Southern

  District of Florida. By contrast, the Defendants have shown it would be much more convenient

  for them to proceed where Lenovo is headquartered nationally and where IBM has an extensive

  base of operations. The convenience of the parties therefore weighs in favor of transfer.

         D.      Locus of Operative Facts/“Center of Gravity”

         “Several district courts have held that the ‘center of gravity’ for a patent infringement

  case is [the place] where the accused product was designed and developed.” Motorola Mobility,

  Inc. v. Microsoft Corp., 804 F. Supp. 2d 1271, 1276 (S.D. Fla. 2011) (citations, internal quotation

  marks, and footnote omitted) (citing Trace-Wilco, Inc. v. Symantec Corp., No. 08-80877, 2009

  WL 455432, at *2-3 (S.D. Fla. Feb. 23, 2009)). “The district court ought to be as close as possible

  to the milieu of the infringing device and the hub of activity centered around its production. For

  that reason, district courts may disregard plaintiff’s choice of forum in cases involving claims of

  patent infringement.” Trace-Wilco, Inc., 2009 WL 455432 at *2-3 (citations and internal quotation

  marks omitted). The Defendants state that the Accused Products were part of IBM’s x86 server

  business, which was “located primarily at IBM’s business operations in Research Triangle Park,

  North Carolina,” and that “Lenovo now designs, develops, manufactures, markets, and sells the

  Accused products primarily in Morrisville, North Carolina.” Defs.’ Mot. at 3; id. Ex. C at ¶¶ 4, 6.

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  Based on the Defendants’ proffer, the Court has no choice but to find that the center of gravity in

  this litigation is in North Carolina. This factor weighs in favor of transfer.

         E.      Availability of Process

         The parties appear to agree this factor is neutral because both neither district would have

  the power to compel identified non-party witnesses to appear at trial. See Defs.’ Mot. at 13; Pl.’s

  Opp’n at 23. Therefore, it does not weigh against transfer to the Eastern District of North Carolina.

         F.      Relative Means of the Parties

         This factor at first appears to weigh in favor of retaining the action in the Southern

  District of Florida as IBM and Lenovo are large corporate entities and the Plaintiff is not. But

  while Filtalert states that its costs would increase were this case to be transferred because it

  would need to secure local counsel in North Carolina, it “does not claim it would be unable to

  bear the costs of litigation in the event of a transfer.” Game Controller Tech. LLC v. Sony

  Computer Entm’t Am. LLC, 994 F. Supp. 2d 1268, 1275 (S.D. Fla. 2014). Other than the increase

  in costs needed to secure local counsel, no party argues that it would be significantly financially

  impacted by a transfer in any way. See Osgood v. Discount Auto Parts, LLC, 981 F. Supp. 2d

  1259, 1266 (S.D. Fla. 2013) (“This is not a case where Defendant is simply looking to shift the

  inconvenience onto the Plaintiff who lacks the means or ability to cope with it.”). The Court

  acknowledges that the costs may not be identical should the case be transferred, but finds this

  factor only slightly supports a denial of transfer.

         G.      Forum’s Familiarity with Governing Law

         The parties agree this factor is neutral because both courts would be analyzing federal

  patent law. See Defs.’ Mot. at 14; Pl.’s Opp’n at 23. Therefore, it does not weigh against transfer

  to the Eastern District of North Carolina.




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          H.      Weight Accorded a Plaintiff’s Choice of Forum

          The movant seeking a venue transfer has the burden to establish that a transfer is warranted,

   and a plaintiff’s choice of forum “should not be disturbed unless it is clearly outweighed by other

   considerations.” Elite Advantage LLC v. Trivest Fund, IV, L.P., No. 15-22146, 2015 WL 4982997,

   at *5 (S.D. Fla. Aug. 21, 2015) (quoting Robinson v. Giarmarco & Bill, P.C., 74 F.3d 253, 260

   (11th Cir. 1996)) (internal quotation marks omitted). However, “where a plaintiff has chosen a

   forum that is not its home forum, only minimal deference is required, and it is considerably easier

   to satisfy the burden of showing that other considerations make transfer proper.” Cellularvision,

   508 F. Supp. 2d at 1189 (citing Piper Aircraft Co. v. Reyno, 454 U.S. 235, 255-56 (1981)).

   Furthermore, courts accord plaintiffs less deference “when the operative facts underlying the

   action occurred outside the district chosen by the plaintiff.” Moghaddam v. Dunkin Donuts, Inc.,

   No. 02-60045, 2002 WL 1940724, at *3 (S.D. Fla. Aug. 13, 2002).

          Plaintiff cites Mason v. Smithkline Beecham Clinical Laboratories, 146 F. Supp. 2d 1355

   (S.D. Fla. 2001), for the proposition that “[d]efendants moving for transfer have a heightened

   burden as they must prove with particularity the inconvenience caused by a plaintiff’s choice of

   forum. Transfer can only be granted where the balance of convenience of the parties strongly

   favors the defendant.” Id. at 1359 (citations and internal quotation marks omitted). This statement,

   while accurate, is inapposite. In Mason, the plaintiff was an individual who chose to sue in her

   forum of residence because of weak health and the court therefore found that her choice of forum

   should be afforded “considerable deference.” As recounted throughout this Order, Filtalert is not

   suing in its home forum, so the level of deference discussed in Mason is not applicable here.

   And, as discussed above, the operative facts underlying this action occurred outside this District.

   Accordingly, the Court does not accord deference to Filtalert’s forum choice, and this factor does

   not weigh against transfer to the Eastern District of North Carolina.

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          I.      Trial Efficiency and the Interests of Justice

          Filtalert has provided a declaration that relies on the 2014 Report on Judicial Business of

   the U.S. Courts, which found that the median time to trial in this District is 16 months, as

   compared to 27 months in the Eastern District of North Carolina. See Talavera Decl. ¶ 21. The

   Defendants do not dispute that this District is a comparatively speedier district. This factor thus

   weighs against transfer.

   III.   CONCLUSION

          Upon consideration of the above Section 1404(a) analysis, this Court concludes that the

   private and public interest factors weigh in favor of transfer to the Eastern District of North

   Carolina. Accordingly, it is ORDERED AND ADJUDGED as follows:

          (1)    the Defendants’ Motion [ECF No. 32] is GRANTED;

          (2)    all other motions are DENIED AS MOOT;

          (3)    this action is TRANSFERRED in its entirety to the United States District Court

                 for the Eastern District of North Carolina; and

          (4)    the Clerk is directed to mark this case as CLOSED in this District.

          DONE AND ORDERED in Chambers at Miami, Florida, this 29th day of December, 2015.




                                                __________________________________
                                                DARRIN P. GAYLES
                                                UNITED STATES DISTRICT JUDGE




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